                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 UNITED STATES OF AMERICA,                           )
                                                     )
                       Plaintiff,                    )
                                                     )       No. 3:05-CR-97
 V.                                                  )       (JARVIS/GUYTON)
                                                     )
 HEATHER NATASHA WHITT,                              )
                                                     )
                       Defendant.                    )


                                    MEMORANDUM AND ORDER

                 All pretrial motions in this case have been referred to the undersigned pursuant

 to 28 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

 District Court as may be appropriate. This matter is before the Court on the defendant’s Motion

 for Permission to File Non-Electronic Documents [Doc. 10] and Motion for Substitution of

 Counsel [Doc. 11], filed on September 7 and 9, 2005, respectively. In the second motion, the

 defendant asks to substitute retained Attorney Kevin C. Angel for Assistant Federal Community

 Defender Jonathan Moffatt, whom the Court appointed on August 22, 2005. Per a telephone

 conference with chambers, Mr. Angel confirmed his representation of the defendant and that he

 could abide by the schedule [see Doc. 6] already established in this case.1 Accordingly, the

 Court GRANTS the defendant’s Motion for Substitution of Counsel [Doc. 11] and

 SUBSTITUTES Attorney Kevin Angel as the defendant’s counsel of record. Attorney Moffatt

 is hereby RELIEVED of his appointment as defendant’s counsel and is asked to forward all



        1
         Mr. Angel informed the Court that if he were unable to file motions by the September
 19, 2005 motion deadline, he would file a motion to extend that deadline.

                                                 1


Case 3:05-cr-00097-TWP-HBG             Document 12       Filed 09/14/05    Page 1 of 2      PageID
                                             #: 3
 discovery to Mr. Angel.

        With regard to the defendant’s motion to file documents non-electronically, defense

 counsel maintains that his computer system is not able to support the filing of electronic

 documents. He plans to replace this computer system with one that will support electronic filing

 within six months. He asks that he be allowed to file documents non-electronically until that

 time. Because the defendant has shown good cause and because the requested relief is

 temporary, the defendant’s Motion for Permission to File Non-Electronic Documents [Doc. 11]

 is GRANTED. Defense counsel may file all documents in paper form in this case and is

 directed to comply with Rule 49, Fed. R. Crim. P., in serving all filings upon opposing counsel.

 Defense counsel is to file all documents electronically as soon as is feasible.

        IT IS SO ORDERED.

                                               ENTER:



                                                    s/ H. Bruce Guyton
                                               United States Magistrate Judge




                                                  2


Case 3:05-cr-00097-TWP-HBG             Document 12        Filed 09/14/05      Page 2 of 2     PageID
                                             #: 4
